         Case 2:17-cv-00505-AB-SK Document 63 Filed 10/10/17 Page 1 of 1 Page ID #:310

ROBERT F. SMITH, CBN 116245
16200 VENTURA BLVD SUITE 308
ENCINO, CA 91436
PH. 818 231 2331




                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
BRUCE V. RORTY                                                       CASE NUMBER
                                                                       2:l7-cv-00505-AB (SKx)
                                                     Plaintiff(s),
                               v.
PREMIER BATHS
                                                                           NOTICE OF DISMISSAL PURSUANT
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    G This action is dismissed by the Plaintiff(s) in its entirety.

    G The Counterclaim brought by Claimant(s)                                                                                is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                                is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                           is
      dismissed by the Claimant(s) in its entirety.

    ✔ ONLY Defendant(s) Defendant Broker Match, Inc., a California corporation, dba refinancerate.com
    G

                                           ✔ Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         is/are dismissed from (check one) G
         brought by Bruce Rorty without prejudice                                                                        .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




     10-10-17                                        ?s? Robert F. Smith
                 Date                                               Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)           NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
